         Case
          Case1:21-cv-02688-CRC
               1:21-cv-02688-CRC Document
                                  Document31-2
                                           12 Filed
                                               Filed12/20/21
                                                     03/30/22 Page
                                                               Page11ofof22

                                                                                                   Exhibit A

                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

    CHARLES GORMLY,

                          Plaintiff,
                                                     Civil Action No. 21-2688 (CRC)
    v.

    JAMES WALKER, et al.,

                          Defendants.

    HELEN KASAY,

                          Plaintiff,
                                                     Civil Action No. 21-2693 (CRC)
    v.

    DISTRICT OF COLUMBIA, et al.,

                          Defendants.

         DISTRICT OF COLUMBIA DEFENDANTS’ MOTION TO DISMISS THE
                               COMPLAINTS

         The District of Columbia (the District) and ten named District employees 1 (collectively,

the District Defendants) move to dismiss the plaintiffs’ complaints in the above-captioned

consolidated actions for failure to state a claim upon which relief can be granted under Fed. R.

Civ. P. 12(b)(6). The complaints allege that Defendant James Walker—a private landlord—

made unsafe and illegal modifications to 708 Kennedy Street, N.W., which caused tenants

Fitsum Kebede and Yafet Solomen to die when a fire broke out there. Plaintiff Charles Gormly,

as representative of the estate of Kebede, and Plaintiff Helen Kasay, as representative of

Solomen’s estate, each bring two common law negligence-based claims and a 42 U.S.C. § 1983


1
       These include Inez Saki-Tay, Louise Peterson, Harriett A. Broadie, Anthony Prather,
Ferdinand Gamboa, Anette Tibbs, Derek Brooks, Timothy Handy, John Barnes Jr., and Shawnte
Williams. Defendant Steven Allen has not been served.
        Case
         Case1:21-cv-02688-CRC
              1:21-cv-02688-CRC Document
                                 Document31-2
                                          12 Filed
                                              Filed12/20/21
                                                    03/30/22 Page
                                                              Page22ofof22

                                                                                                  Exhibit A

substantive due process claim against the District Defendants. But Plaintiffs’ federal claim fails

to adequately plead a constitutional violation because the Due Process Clause is not violated

when a government fails to prevent one citizen from harming another, and Plaintiffs have not

plausibly alleged an unconstitutional policy, pattern, or practice of the District. And Plaintiffs’

common law claims are foreclosed by the public duty doctrine because the District enforces

building and fire safety provisions for the benefit of the entire public, and it does not owe a duty

under those provisions to any specific individual, including Kebede and Solomen. The

complaints should therefore be dismissed against the District Defendants in full. A memorandum

of points and authorities supporting the motion and a proposed order are attached.

Date: December 20, 2021                       Respectfully submitted,

                                              KARL A. RACINE
                                              Attorney General for the District of Columbia

                                              CHAD COPELAND
                                              Deputy Attorney General
                                              Civil Litigation Division

                                              /s/ Christina Okereke
                                              CHRISTINA OKEREKE [219272]
                                              Chief, Civil Litigation Division Section II

                                              /s/ Brendan Heath
                                              BRENDAN HEATH [1619960]
                                              STEVEN N. RUBENSTEIN [1013094]
                                              MATTHEW TROUT [1030119]
                                              Assistant Attorneys General
                                              400 Sixth Street, N.W., Suite 10100
                                              Washington, D.C. 20001
                                              (202) 442-9880
                                              brendan.heath@dc.gov

                                              Counsel for Defendants District of Columbia, Inez
                                              Saki-Tay, Louise Peterson, Harriet A. Broadie,
                                              Anthony Prather, Ferdinand Gamboa, Anette Tibbs,
                                              Derek Brooks, Timothy Handy, John Barnes, Jr.,
                                              and Shawnte Williams

                                                  2
